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               IN THE UNITED Fa'ACALVDF14
                                        ) TRICT COURT
               FOR THE MIDIMAIR'REICT:       ALABAMA
                        NOR-MERN DIVISION
                            -zAp HA CKETI,
                                  U.S.[ASTRICT C.
                                        DISTRICT
 BRENDALYN C. NICHOLAS,   )
                          )
          Plaintiff       )
                          )
 v.                       )
                          )                  Case No.a:18-cv- 1073
                          )
 MOBILE INFIRMARY         )                  JURY TRIAL DEMANDED
 ASSOCIATION,             )
 DR.BENJAMIN J. MAKAMSON )
 and, VASCULAR ASSOCIATES )
 OF SOUTH ALABAMA,LLC., )
                          )
          Defendants.     )
                          )

                                 COMPLAINT

                               INTRODUCTION

       This case is about how certain "men" in positions of power, use that power

 to impose their will and themselves on women in, vile and foul sexual ways —

 ways that Americans struggle, even today, to- acknowledge as sad truths. This

 case is about the defendants named herein, a highly skilled and by many accounts,

 respected surgeon who, with the defacto support of an enabling corporate

 hospital, allows sexual harassment and assault to occur within its work

 environment and, in its most severe form.

                                   PARTIES
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1    Plaintiff, Brendalyn C. Nicholas, a resident of Montgomery County, in the

      Middle District of Alabama, and a female over the age of nineteen is, and

      has been a highly-skilled surgical nurse since 2010. During the relevant

     time, Plaintiff was a nearly fifteen-year employee at the defendant's facility,

      Mobile Infirrnary Medical Center(MIMC).

2.    At all times pertinent, Plaintiffs' forrner employer, pursuant to Title VII of

     the Civil Rights Act of 1964(as amended),42 U.S.C. sec 2000 (et. seq), was

     the defendant, Mobile Infirmary Msociation, a Mobile, Alabama,

     domestic non-profit corporation registered in the state of Alabama.

3.   At all times pertinent, the defendant, Dr. Benjamin J. Makamson, was a

     surgeon and agent of Mobile Infirmaiy Association who performed medical

     services at MIMC.

4.   At all times pertinent, the defendant; Vascular Associates of South

     Alabama, LLC is the employer of Defendant Makamson and, is an

     Alabama-registered limited liability company.

                        JURISDICTION AND VENUE

5.   This Court has original jurisdiction in this action pursuant to 28 U.S.C. §§

     1331 and 1343 and 42 U.S.C. § 2000e-5, inasmuch as the matter in

     controversy is brought pursuant to Title VII of the Civil Rights Act of 1964,

     42 U.S.C. § 2000e et seq. The jurisdiction of this Court is invoked to secure

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      protection and redress deprivation of rights guaranteed by federal law, which

      rights provide for injunctive relief and other relief for illegal employment

      discrimination. The amount in controversy in this action exceeds the

     jurisdictional limits of this Court. The Court has supplemental jurisdiction

      over Plaintiffs state law claims pursuant to 28 U.S.C. § 1367.

6.    Plaintiff filed a complaint on August 31, 2017 with Mobile, Alabama local

      office of the United States Equal Employment Opportunity Commission

     ("EEOC") alleging violations of Title VII of the Civil Rights Act of 1964,

      including violations of sex discrimination, retaliation and allegations of

      sexual harassment.

7.    On September 26, 2018, Erica Lacour, Equal Employment Opportunity

      Commission Administrative local office director, dismissed Plaintiffs case,

      citing her inability to "conclude that the inforrnation [submitted] established

      violations of the statutee' and, she provided notice of Plaintiffs right to sue

      by December 26, 2018.


                    GENERAL FACTUAL ALLEGATIONS

8.   Prior to March 2017 Plaintiff had fifteen (15) years of nursing experience

      with increasing responsibility, including the prestigious position of surgical

     nurse and specializing in heart and eye surgery.

     Plaintiff began her career at MIMC in 2002 as a scrub technician.

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10.   She later became a surgical technician while attending nursing school to

      obtain her registered nurse license.

11.   After becoming a registered nurse, Plaintiff was immediately assigned to

      surgery, an environment with which she had become very familiar.

12.   During Plaintiffs employment at Mobile Infirmary she has never been

      subject of disciplinary actions nor, have there been any allegations that

      Plaintiff has filed false allegations against persons she has worked with.

13.   On or about March 21, 2017 Plaintiff was serving as surgical nurse in the

      main operating room of Defendant, MIMC.

14.   Defendant, Dr. Benjamin Makamson was the surgeon on duty in the main

      operating room in which Plaintiff was working on March 21, 2017.

      Defendant Makamson supervised the surgical procedures and staff,

      including Plaintiff when he performed surgeries at MIMC.

15.   While Plaintiff was preparing the room and the patient post-surgery, on

      March 21, 2017, Defendant Makamson, initiated continuous jokes about

      "having sex with a panda bear in response to a radio show that posed the

      question of"what not to do on a first date."

16.   Plaintiff grew uncomfortable with Defendant Makamson's comments and

      requested that he refrain from making such comments. She threatened to

      document these comments if he continued.

17.   Moments later, Plaintiff witnessed Defendant Makamson touch or "poke" a
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      fellow female nurse-employee, R.B., in the chest. Plaintiff was offended

      and later inquired of R.B. if Defendant Makamson had indeed "pokee her

      in the chest. R.B. answered in the affirmative.

18.   Next, during the same March 21 post-surgical incident, as Plaintiff was in

      the vulnerable position of attempting to prevent an unconscious patient from

      falling out of bed, Defendant Makamson took his fingers and, through her

      surgical clothing, poked her several times in her lower back and once

      between the cheeks of her buttocks, aggressively and forcefully pressing his

      fingers about the edges of Plaintiffs anal area.

19.   Plaintiff could not defend herself against the attack because she would have

      caused harm to the unconscious patient she was caring for at that time.

20.   Plaintiff was shocked and mortified about what she believed to be a sexual

      assault, but attempted to remain calm due to the imminent, critical care

      required for the patient who which wasjust out of surgery.

21.   Unsolicited by anyone and recognizing that Plaintiff was upset by his sexual

      toughing of her, Defendant Makamson was heard by several employees

      saying,"I may need a lawyer" and,"I had better call my attorney."

22.   On March 21, 2017, immediately after the surgery was complete and her

      patient was stable, Plaintiff complained about the sexual assault to her co-

      workers and formally to Ann Sands, her immediate supervisor at MIMC.

23.   The following morning, on or about March 22, 2017, Plaintiff formally
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      complained about the sexual assault to additional MIMC officials — her

      director, Ashley Simmons and Team Leader, Pat McDonald.

24.   On March 22, 2017, Plaintiff was placed on administrative leave due-to the

      physical and mental difficulties she experienced while coping with

      Defendant Makamson's assault upon her.

25.   On March 29, 2017, Plaintiff formally complained about the sexual assault

      to MIMC Human Resources official, Melissa Boesen.

26.   Plaintiff returned to work on or about May 6,2017.

27.   After her return to work on May 6, Plaintiff expressed to her supervisors her

      mental distress and depression because of the sexual assault. She informed

      her MIMC supervisors that she did not want any interaction, whatsoever

      with Dr. Makamson while at work.

28.   Instead of removing Defendant Makamson from the work environment,

      MIMC reassigned Plaintiff to nursing duties in the "outpatient" department,

      a position much less prestigious and fulfilling for Plaintiff and, one with

      much less professional nursing responsibility than the main operating room

      nurse position she had prior to being assaulted by Defendant Makamson.

29.   From May 6, 2017 and after, Plaintiff was frightened, disgusted and

      mortified by additional encounters with Defendant Makamson in the

      hallways and about the hospital floors of MIMC.
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30.   On or about June 10, 2017, Plaintiff again complained to her supervisors

      about the negative impact of her experience with Defendant Makamson, the

      fear of encountering Defendant Makamson in the main operating room

      environment and the emotional suffering, physical pain, depression and

      anxiety she suffered constantly since the March 21 assault.

31.   On or about June 10, 2017, Plaintiffs Human Resources departrnent

      approved FMLA time off for Plaintiff and required her to attend mandatory

      Employee Assistance Program(EAP)for work-fitness evaluation.

32.   MIMC subjected Plaintiff to mandatory drug screening between June 10,

      2017 and July 5, 2017.

33.   Plaintiff was cleared to return to work duties on July 5, 2017.

34.   From on or about July 5, 2017 through September 12, 2017, Plaintiff was

      assigned and worked in the outpatient surgical department, which primarily

      entailed "paperwork" duties — a significant diminution to her role of

      performing active, critical care nursing duties she previously performed in

      the main operating room prior to March 22, 2017:

35.   On or about September 12, 2017, MIMC supervisors requested that Plaintiff

      perform surgical nursing duties for an eye patient in the main operating

      room, due to an absence of another nurse. The surgery was to take place in

      the environment that she was in on March 21, 2017.
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36.   Although she was assured by her supervisors that Defendant Makamson

      would not be in the main operating room, Plaintiff was fearful, stressed and

      had severe anxiety that she would encounter Defendant Makamson.

37.   Plaintiff left the September surgery traumatized, under tremendous stress

      and depression.

38.   Plaintiff felt that she would never be safe again if Defendant Makamson

      could continue working as a physician at the hospital Plaintiff liad worked

      for the better part of fifteen (15) years.

39.   Plaintiff avers that MIMC did nothing to address her concerns about what

      she believes may have been a criminal act committed against her by

      Defendant Makamson and, after September 12, 2017, she was extremely

      afraid to return to work at MIMC again because of MIMC's lack of proper

      action against Makamson.

40.   Plaintiff was so fearful for her safety and so distraught about Defendant

      Makamson's assault and the inaction of MIMC, she, after the better part of

      fifteen (15) years of employment at MIMC,never returned to work at MIMC

      after September 12, 2017.

                         COUNT 1
         SEXUAL HARRASSMENT GENDER DISCRIMINATION

41.   Plaintiff incorporates as if fully restated all the allegations previously

      written.
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42.   Plaintiff was subjected to unwelcome, offensive and harassing sexually

      discriminatory conduct during her employment with Mobile Infirmary

      Medical Center which was perpetrated upon her by Defendant Makamson,

      and her Supervisors, at MIMC, and that this conduct was based upon and

      directed at Plaintiff by reason of her gender.

43.   Plaintiff noticed MIMC supervisors, executives and Human Resources,

      which was otherwise made aware, of the sexually harassing and

      discriminatory conduct, but MIMC failed to take any appropriate corrective

      action.

44.   This sexually harassing and discriminatory conduct was sufficiently severe

      and pervasive to unreasonably interfere with Plaintiffs physical health,

      work performance and to create an intimidating, hostile and offensive

      working environment.

45.   The Defendants' harassment ruined the reputation and credibility of Plaintiff,

      a seasoned surgical nurse, and created an atmosphere of hostility which

      severely damaged the reputation in the eyes of her co- workers and peers.

46.   Moreover, this conduct was ongoing and pervasive and constituted a

      "continuing violatioe of Plaintiffs right. During her employment, Plaintiff

      was forced to work in a sexual discriminatory and hostile environment.

47.   MIMC was put on notice of the sexually suggestive nature of its agent,

      Defendant Makamson, and failed to take immediate corrective action, all to
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       Plaintiffs detriment.

 48.   MIMC officials were made aware of the hostile work environment and

       acquiesced in the environment.

 49.   Defendant Makamson's sexually offensive actions against Plaintiff were

       open and obvious to other employees, both management and non-

       management at MIMC.

 50.   Other MIMC workers complained to MIMC Management regarding

       harassing behavior towards Plaintiff during the times referenced in

       Plaintiffs complaint, yet no corrective action was taken.

 51.   On information and belief, an independent internal investigation by MIMC

       or a third-party investigative body substantiated Plaintiff's allegations of

       sexual harassment in Plaintiffs workplace.

 52.   As a direct and proximate result of the harassing and hostile sexual

       environment of MIMC, its official and supervisors, and Defendant

       Makamson, Plaintiff suffered great embarrassment, humiliation and mental

       and physical anguish.

 53.   During Plaintiffs employment with Mobile Infirmary Association, the

       Defendant, by and through its agents and employees, discriminated against

       the Plaintiff in the terms, conditions, and privileges of employment in

       various ways, in substantial part because of her sex, in violation of Title VII

       of the Civil Rights Act of 1964,42 U.S.C. §2000e et. seq.
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 54.   The above-described unwelcome sex discrimination created an intimidating,

       oppressive, hostile and offensive work environment which interfered with

       Plaintiffs emotional and physical well-being.

 55.   Defendant Mobile Infirmary Association through its agents or supervisors

       failed to adequately supervise, control, discipline, and/or otherwise penalize

       the conduct and acts of its agent, Defendant Makamson as described above.

 56.   Defendant Mobile Infirmary Association failed to take all reasonable and

       necessary steps to eliminate sex discrimination and harassment from the

       workplace and to prevent it from occurring in the future.

 57.   As a further direct and proximate result of Defendant's violation of Title VII

       of the Civil Rights Act of 1964 et. seq. as described, Plaintiff has been

       compelled to retain the services of counsel to enforce the terms and

       conditions of the employment relationship with Mobile Infirmary

       Association and has thereby incurred and will continue to incur legal fees

       and costs, the full nature and extent of which are presently unknown to

       Plaintiff.

                               COUNT II
                        CONSTRUCTIVE DISCHARGE

 58.   Plaintiff incorporates as if fully restated all the allegations previously

       written.

 59.   Plaintiff followed all the proper protocol when she reported the sexual
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       assault of Defendant Makamson upon her.

 60.   She informed MIMC supervisors, executives and Human Resources.

 61.   Instead of discharging Defendant Makamson from Mobile Infirmary

       Association employ or agency relationship, Mobile Infirmary Association

       allowed Makamson to continue to roam the halls of MIMC and, for Plaintiff

       to encounter Makamson whenever they were both on site.

 62.   Moreover, MIMC supervisors assigned Plaintiff to "paperwork" duties of

       the outpatient surgical unit versus the prestigious, gratifying critical-care

       work performed in the main operating room.

 63.   Because of the assault committed by Defendant Makamson and the inaction

       of Mobile Infirmary Association to remedy the environment of the

       perpetrator of sexual assault, Mobile Infirmary Association created a work

       environment such that a reasonable person in Plaintiffs position would have

       been compelled to do what Plaintiff did — resign from her duties at MIMC.

                         COUNT III
        ALABAMA STATE-LAW CLAIM (ASS-AULT-and BATTERY)

 64.   Plaintiff incorporates as if fully restated all the allegations previously

       written.

 65.   The intentional torts of assault and battery are well settled in Alabama

       jurisprudence. "Assault" has been defined as "an intentional, unlawful, offer

       to touch the person of another in a rude or angry manner under such
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       circurnstances as to create in the mind of the party alleging the assault a

       well-founded fear of an imminent battery, coupled with the apparent present

       ability to effectuate the attempt, if not prevented." Western Union Tel. Co. v.

       Hill, 25 Ala.App. 540, 542, 150 So. 709, 710(1933)(ernphasis added). See

       also Wright v. Wright, 654 So. 2d 542,544(Ala.1995).

 66.    Defendant Makamson's physical intrusion onto Plaintiffs buttocks clearly

       constitute assault.

 67.   Defendant Vascular Associates of South Alabama, LLC is the employer of

       Defendant Makamson and as such, is liable for Makamson's actions against

       Plaintiff.

 68.    Defendant Makarnson touched Plaintiff; he intended to touch Plaintiff; and,

       Defendant Makamson conducted his touching in a harmful and offensive

       manner.

 69.    The Alabama Supreme Court has explained that "[a] battery consists in an

       injury actually done to the person of another in an angry or revengeful or

       rude or insolent manner ... or in any way touching him in anger, or violently

       jostling him out of the way, or in doing any intentional violence to the

       person of another." Surrency v. Harbison,489 So. 2d 1097, 1104(Ala.1986)

       (quoting Singer Mach. Co. v. Methvin, 184 Ala. 554, 561, 63 So. 997, 1000

       (1913)(emphasis added)).


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 70.    In a civil case, the elements of battery are: (1) that the defendant touched

       the plaintiff; (2) that the defendant intended to touch the plaintiff; and (3)

       that the touching was conducted in a harmful or offensive manner. Ex parte

       Atmore Cmty. Hosp.,719 So. 2d 1190(Ala. 1998)(emphasis added).

 71.    Defendant Makamson's highly offensive touching of Plaintiffs buttocks

       during the surgery was, at minimum, rude and insolent. Plaintiff contends

       that Defendant Makamson's inappropriate sexual comments prior to the

       assault, coupled with his admission that he would "need a lawyee provide

       strong indicia that Makamson intended to cause the harm.

       WHEREFORE, Plaintiff, Brendalyn Nicholas, demands judgment against

  the Defendants, in an amount which will compensate her for:

  a)            Violation of her rights under Title VII of the Civil Rights Act of

  1964;

  b)            Compensatory damages including lost wages, past and future

  and/or impairment of power to earn money; physical pain, emotional distress and

  humiliation, past and future; and past and future medical expenses;

  c)            Punitive darnages to punish the Defendants for its willful, wanton,

  oppressive, malicious, and/or grossly negligent conduct;

  d)            Trial by jury on all issues so triable;

  e)            Costs expended herein, including reasonable attorneys' fees;

  0             Pre-judgment and post-judgment interest; and
                                                                                  14
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                Any and all other relief to which she may be entitled.

                    Respectfully submitted this 26th day of December 2018.


                                                   411111a
                                             Josep 'itchell McGuire
                                             Bar No. ASB-8317-S69M
                                             McGuire & Associates, LLC
                                             31 Clayton Street
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                                              Attorneyfor Plaintiff




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                          CERTIFICATE OF SERVICE

        On December 26, 2018, I filed the Complaint in the above styled cause

  over the counter with the Clerk of the Court and delivered the same to the

  following parties via U.S. Certified Mail:

  Mobile Infirmary Association
  5 Mobile Infirmary Circle
  Mobile, Alabama 36607

  Dr. Benjamin J. Makamson
  124 University Boulevard
  Mobile, Alabama 36608

  Vascular Associates of South Alabama, LLC
  124 University Boulevard
  Mobile, Alabama 36608




                                                 Josep Mitchell McGuire




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                                        VERIFICATION

        Before me,the undersigned notary,on this day personally appeared Brendalyn C.Nicholas,

the affiant, a person whose identity is known to me. After I administered an oath to affiant, affiant

testified:

       "My name is Brendalyn C. Nicholas. I have read the Complaint. The facts stated in it with

regard to the content therein are within my personal knowledge and are true and correct."




                                                                     Brend yn C. Nicholas




SWORN TO and SUBSCRIBED before 111eb
                                1 iu sy Brendalyn C. Nicholas on December 26,2018.
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                                                                     Notary P            d for
                                                                     the State           a
